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                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF UTAH

FRIENDS OF CEDAR MESA,                         JOINT MOTION TO VACATE
                                               ORDER TO PROPOSE SCHEDULE
        Plaintiff,                             [ECF. No. 13]

v.                                             Case No. 4:19-cv-00013-DN-DBP

U.S. DEPT. OF THE INTERIOR et al.,             District Judge David Nuffer

        Defendants.                            Magistrate Judge Dustin B. Pead
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       Plaintiff Friends of Cedar Mesa and Defendants United States Department of the Interior,

Bureau of Land Management, and Kent Hoffman, by and through the undersigned counsel

jointly and respectfully request that the Order to Propose Schedule issued February 8, 2019, be

vacated. ECF No. 13. Friends of Cedar Mesa’s complaint seeks judicial review of the Bureau of

Land Management’s March 2018 oil and gas lease sale in San Juan County, Utah. The Parties

agree that the claims in this case will be resolved under the Administrative Procedure Act and

that the case is exempt from the standard scheduling conference and scheduling order

requirements pursuant to DUCivR 16-1(a)(1)(A)(vi). The Parties thus plan to proceed with this

case pursuant to DUCivR 7-4.

       As such, Defendants plan to file a responsive document pursuant to DUCivR 7-4(a)(2)(B)

by April 12, 2019. Within 14 days of that statement, by April 26, 2019, the parties plan to file a

proposed scheduling order pursuant to DUCivR 7-4(a)(5).

       For the foregoing reasons the parties respectfully request the Order to Propose Schedule

be vacated and that the case proceed in accordance with DUCivR 7-4.



DATED March 12, 2019                                 Respectfully submitted,

                                                     /s/ Sarah Stellberg
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